
999 So.2d 787 (2009)
Brian L. CALDWELL, Albert B. Caldwell, Elaine A. Caldwell, and Kenneth R. Caldwell
v.
Isidore Michael LECHE, Estate of John B. Leche, II, Virginia B. Nolan, Melanie K. Homan, Mark J. Naquin, Adrienne Leche Guarisco, Charles J. Leche, II, Norman P. Leche, Jr., Patricia Leche Miller, Connie M. Leche, Deborah A. Leche, Paul J. Leche and John V. Caldwell, Jr.
Mark J. Naquin
v.
Brian Caldwell, High Grass, L.L.C, Craig Webre, in his Official Capacity as Sheriff of the Parish of Lafourche, State of Louisiana
Isidore Michael Leche, et als.
v.
Brian L. Caldwell, et als.
No. 2008-C-2859.
Supreme Court of Louisiana.
February 6, 2009.
*788 Denied.
